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                              IN THE DISTRICT COURT IN AND FOR
                             THE SOUTHERN DISTRICT OF FLORIDA
                                      ST LUCIE DIVISION


 RICHARD A. MARINO
                                                        CASE NO.:
          Plaintiff,

 vs.

 PHAIDON INTERNATIONAL, INC.
 d/b/a SELBY JENNINGS

       Defendant.
 _____________________________/

                   COMPLAINT FOR DAMAGES – JURY TRIAL DEMANDED

          COMES NOW the Plaintiff, RICHARD A. MARINO (“MARINO”), by and through his

 undersigned attorney, and files this Complaint for damages and demand for trial by jury against

 the Defendant, SELBY JENNINGS., a foreign LLC, and further alleges:

                                                   PARTIES

       1. MARINO is an individual who primarily resides in St. Lucie County, and is otherwise sui

          juris.

       2. Phaidon International, d/b/a Selby Jennings (“Selby Jennings”) is a foreign company

          based in England, with a principal address of 21 Lombard Street, London England. Selby

          Jennings maintains offices throughout the United States, with its headquarters and

          principle place of business in the United States as 622 Third Avenue, 8th Floor, New

          York.

       3. Selby Jennings is primarily involved in recruitment of personnel for financial institutions

          all over the United States.
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                                               JURISDICTION

    4. Jurisdiction is proper under 28 U.S. Code § 1332 because this is a claim that exceeds

       $75,000.00 in value. Marino is a citizen and primary resident in the State of Florida,

       while Selby Jennings is a company with that is structured as a corporation in New York.

    5. Personal jurisdiction is proper because the actions and occurrences alleged in the

       Complaint fall into Florida’s Long Arm Statute. Personal jurisdiction falls within

       Florida’s Long Arm Statute because Selby Jennings was engaged in solicitation or

       service activities within the State of Florida by contacting Marino and offering its

       services. Specifically, an individual by the name of Taylor Eitelberg contact Marino

       multiple times by text message, e-mail, and via LinkedIn in order to recruit Marino as a

       candidate for AQR Capital Management, which is a global investment management firm

       based in Greenwich, Connecticut.

    6. Moreover, Selby Jennings committed a tortious act within the state by negligently

       causing Marino to be terminated from his job at AQR Capital Management.

                                                  VENUE

    7. Venue is proper in the Southern District of Florida because a substantial part of the

       events occurred. Specifically, the information that Marino gave Selby Jennings all

       occurred in this judicial district.

    8. Moreover, because Selby Jennings is deemed a resident of Florida because Florida has

       personal jurisdiction over Defendant by way of its long arm statute.

                                             ALLEGATIONS

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    9. Marino is an extremely talented specialist, specializing in Infrastructure Engineer and

       Software Development, and worked in Microsoft, Acuity Brands Lighting, and D.E.

       Shaw & Co.

    10. Marino specializes in both Wnidows and Unix environments, and is a heavy professional

       user of code language in C, C++, and C#.

    11. On or around April 8, 2021, Selby Jennings contacted Marino about an opportunity at

       AQR Capital Management.

    12. Selby Jennings, through Taylor Eitelberg, maintained constant communication with

       Marino by way of e-mail and text messages. See Exhibit “A” – Sampling of Text

       Messages.

    13. Taylor Eitelberg sent Marino various opportunities, such as from Element Capital
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    14. As it came to AQR, Taylor Eitelberg contacted Marino in an e-mail string called, “new

       Opportunities.”

    15. In that e-mail string, Marino told Taylor that his degree from the University of Miami is

       incomplete.




    16. Taylor said that Marino would just need to explain in good detail on the submittal form,

       and that it should be fine.

    17. This is exactly what Marino did:




    18. Taylor was “very impressed,” and confirmed that this is what employers like to see
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    19. Ultimately, after the interviewing process, various social media background checks, a

       criminal background check, and every other check that might be feasible, AQR offered

       Marino employment that was totally remote, meaning that Marino could work from Port

       St. Lucie.

    20. Ultimately, it was a dream job because it allowed Marino to get a New York salary, but

       live the expense ratio of Port Saint Lucie, while paying Florida taxes, and not New York

       taxes. In that regard, Marino turned down other job offers he had from other companies

       to accept the employment package from AQR.

    21. As can be seen, the employment package had a base salary of $165,000, and a guaranteed

       bonus of at least $35,000. Essentially, Marino would be making $200,000 at least. This

       does not include all of the fringe benefits like medical, dental, vision, and even a flexible

       spending plan for lunches, etc. This job was truly a dream job.

    22. Sometime around October 13, 2021, Marino gets an e-mail from Molly Halper saying

       that AQR was reconsidering their employment of Marino because he wrote Bachelor of

       Scient in Electrical Computer Engineering and Bachelor of Science in Computer Science,

       both of them were marked “incomplete”. Unfortunately, the form that Marino filled out

       cut off the words “incomplete”
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    23. Marino tried to explain this to Molly Halper, and stated that he explained this in detail

       during interviews, and it was explained and presented to AQR by Selby Jennings.




    24. Molly replied that she spoke to Selby Jennings, and no one knew about the degree

       situation. Moreover, Selby Jennings denied that they were communicated with regarding

       the incomplete degree.
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    25. Ultimately, Molly Halper coordinated a telephone conversation with Marino. The result

       of that phone conversation was that the offer from AQR was rescinded.

    26. Specifically, the AQR offer was rescinded regarding the degree/education status. See

       Exhibit “A” – Letter from AQR.

    27. Ultimately, since this time, Marino could not find alternative employment, and turned

       down other employment opportunities with lucrative options because of the dream job

       that was AQR.

    28. All conditions precedent have been complied with

                                  COUNT I – NEGLIGENCE

    29. Plaintiff incorporates paragraphs 1-28 in this instant count and states the following in

       support:

    30. Selby Jennings has a duty to act in a professional manner and discloser the correct and

       true information about the fact that, despite attending four years at the University of

       Miami, his degree was incomplete.

    31. Selby Jennings breached their duty when Marino disclosed to Selby Jennings this fact,

       but Selby Jennings, not only failed to disclose that to AQR, but denied that Marino

       disclosed the information to them. This was according to Molly Halper, as can be seen in

       the e-mail.

    32. Marino suffered a harm in that he has not been able to procure alternative employment

       that would allow him to work in such favorable conditions. Moreover, Marino suffered

       loss of income and benefits.

    33. Defendant is the actual and proximate cause of the harm.

 WHEREFORE, Plaintiff demands an award of actual damages and consequential damages.
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                          COUNT II – TORTIOUS INTERFERENCE

    34. Plaintiff incorporates paragraphs 1-28 in this instant count and states the following in

        support:

    35. To prevail on its tortious interference claim, Marino is required to show: (1) the existence

        of a business relationship; (2) the defendant had knowledge of the relationship; (3) the

        defendant intentionally and unjustifiably interfered with the relationship; and (4) the

        plaintiff suffered damage as a result.

    36. Marino had a business relationship with AQR as a prospect, and then an employee of

        AQR.

    37. Defendant had knowledge of this relationship because Defendant is the one that

        orchestrated this relationship.

    38. Defendant intentionally and unjustifiably interfered with the relationship when it denied

        that Marino made any communication regarding the absence of his degree from the

        University of Miami. Defendant’s interference was unjustified because it is clear that

        Marino sent numerous correspondence to Defendant regarding his lack of a college

        degree.

    39. Marino suffered a harm in that he has not been able to procure alternative employment

        that would allow him to work in such favorable conditions. Moreover, Marino suffered

        loss of income and benefits.

    40. Defendant is the actual and proximate cause of the harm

 WHEREFORE, Plaintiff demands an award of actual damages and consequential damages.

 Date: January 19, 2022
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